                                                 Case 4:19-cv-07245-HSG Document 26 Filed 12/12/19 Page 1 of 3



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                                          10                              UNITED STATES DISTRICT COURT
                                          11                             NORTHERN DISTRICT OF CALIFORNIA
                                          12                                    OAKLAND DIVISION
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




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                                          14   BITCOIN MANIPULATION ABATEMENT                 Case No.: 4:19-CV-07245-HSG
                                               LLC,
                                          15                                                  REQUEST FOR JUDICIAL NOTICE IN
                                                            Plaintiff,                        SUPPORT OF ALAMEDA RESEARCH
                                          16                                                  LLC’S NOTICE OF MOTION AND
                                                    vs.                                       MOTION TO DISMISS BITCOIN
                                          17                                                  MANIPULATION ABATEMENT LLC’S
                                               FTX TRADING LTD, ALAMEDA                       AMENDED COMPLAINT
                                          18   RESEARCH LLC, ALAMEDA RESEARCH
                                               LTD (BVI), SAMUEL BANKMAN-FRIED,               Date:     February 13, 2020
                                          19   GARY WANG, ANDY CROGHAN,                       Time:     2:00 p.m.
                                               CONSTANCE WANG, DARREN WONG, and               Dept:     Courtroom 2 – 4th Floor
                                          20   CAROLINE ELLISON,                              Judge:    Hon. Haywood S. Gilliam, Jr.
                                          21                Defendants.
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                                                REQUEST FOR JUDICIAL NOTICE ISO
                                                ALAMEDA RESEARCH LLC’S MOTION TO                              CASE NO. 4:19-CV-07245-HSG
                                                DISMISS
                                                 Case 4:19-cv-07245-HSG Document 26 Filed 12/12/19 Page 2 of 3



                                           1          Defendant Alameda Research LLC (“Alameda”), by and through its attorneys, hereby

                                           2   requests that the Court take judicial notice of Exhibits A-B, attached to the accompanying

                                           3   Declaration of Fiona Y. Tang (the “Tang Declaration”) and referenced in Alameda’s Motion to

                                           4   Dismiss Bitcoin Manipulation Abatement LLC’s Amended Complaint (“Motion”), filed

                                           5   concurrently herewith. Alameda submits that, pursuant to Rule 201 of the Federal Rules of

                                           6   Evidence, the Court may take judicial notice of the documents attached as Exhibits A-B to the

                                           7   Tang Declaration. Judicial notice of these documents is appropriate for the reasons set forth

                                           8   below. The documents to be considered are as follows:

                                           9          1.      The Certificate of Organization of Transpacific IP Group LLC and the Certificate

                                          10   of Formation of a Limited Liability Company (together, the “Certificates”) which were filed with

                                          11   the Secretary of State of the Government of Puerto Rico on March 13, 2019. The Certificates are

                                          12   attached as Exhibit A to the Tang Declaration.
F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




                                          13          2.      The Certificate of Amendment certifying a name change from Transpacific IP

                                          14   Group LLC to Bitcoin Manipulation Abatement LLC (the “Amendment”) which was filed with

                                          15   the Secretary of State of the Government of Puerto Rico on November 2, 2019. The Amendment

                                          16   is attached as Exhibit B to the Tang Declaration.

                                          17          A matter that is properly the subject of judicial notice may be considered along with the

                                          18   complaint when deciding a motion to dismiss for failure to state a claim. See Skilstaf, Inc. v. CVS

                                          19   Caremark Corp., 669 F.3d 1005, 1016, n.9 (9th Cir. 2012). Courts routinely take judicial notice

                                          20   of public documents filed by corporations with a state or territory’s Secretary of State. See, e.g.,

                                          21   In re Yahoo! Inc. S’holder Deriv. Litig., 153 F. Supp. 3d 1107, 1117-18 (N.D. Cal. 2015) (proper

                                          22   to take judicial notice of SEC filings and certificate of incorporation); Metzler Inv. GMBH v.

                                          23   Corinthian Colls., Inc., 540 F.3d 1049, 1064 n.7 (9th Cir. 2008) (SEC filings subject to judicial

                                          24   notice) (citation omitted); Shurkin v. Golden State Vintners, Inc., 2005 WL 1926620, at *6 (N.D.

                                          25   Cal. Aug. 10, 2005) (“[D]istrict courts routinely take judicial notice of public documents such as

                                          26   certificates of incorporation or organization filed with the secretary of state.”) (citation omitted).

                                          27   The Certificates and the Amendment were filed by plaintiff Bitcoin Manipulation Abatement

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                                                REQUEST FOR JUDICIAL NOTICE ISO                   1                     CASE NO. 4:19-CV-07245-HSG
                                                ALAMEDA RESEARCH LLC’S MOTION TO
                                                DISMISS
                                                 Case 4:19-cv-07245-HSG Document 26 Filed 12/12/19 Page 3 of 3



                                           1   LLC (“BMA”), formerly known as Transpacific IP Group LLC, with the secretary of state of the

                                           2   government of Puerto Rico, and are properly subject to judicial notice. Accordingly, Alameda

                                           3   respectfully requests that the Court consider Exhibits A and B to the Tang Declaration in

                                           4   connection with Alameda’s Motion.

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                                               Dated: December 12, 2019                     Respectfully submitted,
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                                                                                            FENWICK & WEST LLP
                                           9
                                                                                            By: /s/     Michael S. Dicke
                                          10                                                            Michael S. Dicke
                                          11                                                Attorneys for Defendant Alameda Research, LLC

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F ENWICK & W EST LLP
                       ATTORNEYS AT LAW




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                                                REQUEST FOR JUDICIAL NOTICE ISO                2                      CASE NO. 4:19-CV-07245-HSG
                                                ALAMEDA RESEARCH LLC’S MOTION TO
                                                DISMISS
